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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-02936-STV

JOHN MEGGS et al,

       Plaintiffs,

vs.

SOUTHWESTERN INVESTMENTS, LLC,

      Defendant.
__________________________________________________/

 ____________________________________________________________________________________________

              STIPULATION OF DISMISSAL WITH PREJUDICE
 ____________________________________________________________________________________________

        It is hereby stipulated and agreed by and between the Plaintiffs and the Defendant,

pursuant to the Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that the above-captioned action

be dismissed with prejudice, a resolution of all matters in dispute having been made pursuant to a

settlement agreement executed between the parties.



Respectfully Submitted,
  /s/ Jon G Shadinger Jr.
 __________________________                           /s/ Joseph R. Kummer
                                                     __________________________________
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         2/24/2023
Dated: ______________




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